        Case: 1:18-cv-02929-SO Doc #: 73 Filed: 03/06/24 1 of 6. PageID #: 764




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


TONYA CLAY, et al.,                 )     CASE NO. 1:18-CV-02929
                                    )
            Plaintiffs,             )     JUDGE SOLOMON OLIVER
                                    )
      vs.                           )
                                    )
CUYAHOGA COUNTY, et al.,            )     STIPULATED PROTECTIVE ORDER
                                    )
            Defendants.             )
______________________________________________________________________________


       The parties to this Stipulated Protective Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

       1. Scope. Identifying inmate information contained in the Report of Joint Technical Expert

Martin Horn, dated July 14, 2022 (“Joint Expert Report”), shall be subject to this Order as set forth

below. The purpose of this Stipulated Protective Order is to protect the identity of inmates who

were guaranteed confidentiality when they agreed to provide information to expert Martin Horn

during his review of the Cuyahoga County Corrections Center.

       2. Protection of Confidential Material. Appendices A, B, and C of the Joint Expert Report

(pgs. 104-173) shall not be used or disclosed by the parties, counsel for the parties, or any other

persons for any purpose whatsoever other than to prepare for and to conduct discovery and trial in

this action [adversary proceeding], including any appeal thereof.

       3. Filing of Documents Under Seal. Absent a statute or an order of this Court, documents

may not be filed under seal. See L.R.5.2; Electronic Filing Policies and Procedures Manual Section

16. Neither this Stipulated Protective Order nor any other sealing order constitutes blanket authority
                                                  1
        Case: 1:18-cv-02929-SO Doc #: 73 Filed: 03/06/24 2 of 6. PageID #: 765



to file entire documents under seal. Only confidential portions of relevant documents are subject to

sealing. To the extent that a brief, memorandum or pleading references the Joint Expert Report, then

a party may timely move the Court for leave to file both a redacted version for the public docket and

an unredacted version for sealing.

        Absent a court-granted exception based upon extraordinary circumstances, all filings

 made under seal shall be submitted electronically and shall be linked to this Stipulated Protective

 Order or other relevant authorizing order. If both redacted and unredacted versions are being

 submitted for filing, each version shall be clearly named so there is no confusion as to why there

 are two entries on the docket for the same filing.

        If the Court has granted an exception to electronic filing, a sealed filing shall be placed in

 a sealed envelope marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER.” The

 sealed envelope shall display the case name and number, a designation as to what the document is,

 the name of the party on whose behalf it is submitted, and the name of the attorney who has filed

 the sealed document. A copy of this Stipulated Protective Order, or other relevant authorizing

 order, shall be included in the sealed envelope.

        4. Obligations on Conclusion of Litigation.

                    (a)   Order Remains in Effect. This Order shall remain in force after

            dismissal or entry of final judgment not subject to further appeal.

                    (b)   Return of Documents Filed under Seal. After dismissal or entry of final

            judgment not subject to further appeal, the Clerk may elect to return to counsel for the

            parties or, after notice, destroy documents filed or offered at trial under seal or

            otherwise restricted by the Court as to disclosure.



                                                    2
      Case: 1:18-cv-02929-SO Doc #: 73 Filed: 03/06/24 3 of 6. PageID #: 766



       5. Order Subject to Modification. This Order shall be subject to modification by the

Court on its own motion or on motion of a party or any other person with standing concerning the

subject matter. Motions to modify this Order shall be served and filed under Local Rule 7.1 and

the presiding judge’s standing orders or other relevant orders.

       6. No Prior Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of maintaining confidentiality of Cuyahoga

County Corrections Center inmates. Nothing herein shall be construed or presented as a judicial

determination that Appendices A, B, and C of the Joint Expert R eport are subject to

protection under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time

as the Court may rule on a specific document or issue.

       7. Persons Bound. This Order shall take effect when entered and shall be binding upon all

counsel and their law firms, the parties, and persons made subject to this Order by its terms.

               So Ordered.



                                            _______________________________
                                            Honorable Judge Solomon Oliver
                                            U.S. District Court Northern District of Ohio




                                                3
       Case: 1:18-cv-02929-SO Doc #: 73 Filed: 03/06/24 4 of 6. PageID #: 767




Stipulated and Approved by:

                                            MICHAEL C. O’MALLEY
                                            Prosecuting Attorney of Cuyahoga County

/s/ Sarah Gelsomino                         By: /s/Brendan D. Healy
                                            David G. Lambert (0030273)
Sarah Gelsomino (0084340)                   Brendan D. Healy (0081225)
Jacqueline Greene (0092733)                 CUYAHOGA COUNTY PROSECUTOR’S OFFICE
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                                            Armond Budish, Clifford Pinkney, Eric J. Ivey,
Counsel for Plaintiffs                      George Taylor, and Brandy Carney




                                        4
      Case: 1:18-cv-02929-SO Doc #: 73 Filed: 03/06/24 5 of 6. PageID #: 768




                                FORM PROTECTIVE ORDER
                                    ATTACHMENT A


                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO


                                                    )
                                                    )    Civil No.
               Plaintiff                            )
                                                    )
                                                    )
                                                    )
               Defendant                            )


                                  ACKNOWLEDGMENT
                                        AND
                                AGREEMENT TO BE BOUND


       The undersigned hereby acknowledges that he/she has read the Protective Order dated

                      in the above-captioned action and attached hereto, understands the terms

thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction of the

United States District Court for the Northern District of Ohio in matters relating to the Protective

Order and understands that the terms of the Protective Order obligate him/her to Appendices A, B,

and C of the Joint Expert Report in accordance with the Order solely for the purposes of the above-

captioned action, and not to disclose any such documents or information derived directly therefrom

to any other person, firm or concern.




                                                5
        Case: 1:18-cv-02929-SO Doc #: 73 Filed: 03/06/24 6 of 6. PageID #: 769




        The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.

Name:

Job Title:

Employer:

Business Address:




Date:
                      Signature




                                              6
